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                                UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF OHIO
                                        WESTERN DIVISION


In Re:                                            )
                                                  )             Case No. 1:19‐10217
Rick Ellis                                        )             Judge Beth A. Buchanan
Melba Ellis
                          Debtors                 )

                     NOTICE OF CHAPTER 7 TRUSTEE’S APPLICATION TO RETAIN
                    BK GLOBAL REAL ESTATE SERVICES TO PROCURE CONSENTED
         PUBLIC SALE NUNC PRO TUNC AS OF JANUARY 23, 2019 PURSUANT TO 11 U.S.C. § 327

         Please take notice that, the trustee in the above‐captioned matter has filed an APPLICATION TO

RETAIN BK GLOBAL REAL ESTATE SERVICES TO PROCURE CONSENTED PUBLIC SALE NUNC PRO TUNC

AS OF JANUARY 23, 2019 PURSUANT TO 11 U.S.C. § 327 with this court.

         YOUR RIGHTS MAY BE AFFECTED. You should read these papers carefully and discuss them

with your attorney, if you have one in the bankruptcy case. (If you do not have an attorney, you may

wish to consult one.)

         If you do not want the Court to grant the relief sought in the APPLICATION TO RETAIN BK

GLOBAL REAL ESTATE SERVICES TO PROCURE CONSENTED PUBLIC SALE NUNC PRO TUNC AS OF

JANUARY 23, 2019 PURSUANT TO 11 U.S.C. § 327 (the “Application”) or if you want the Court to

consider your views on the Motion, then on or before twenty‐one (21) days from the date of service of

this Notice, you or your attorney must:

                 File with the Court a written request for a hearing, or if the Court requires a written

                  response, an answer, explaining your position at:

                  U.S. Bankruptcy Court
                  221 East Fourth Street, Suite 800
                  Cincinnati, OH 45202

         If you mail your request or response to the Court for filing, you must mail it early enough so the

Court will receive it on or before the date stated above. You must also mail a copy to the Trustee and to
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the attorney for the Debtors at the address listed below together with all of the parties listed on the

service list below at the addresses listed thereon:

                Richard D. Nelson, Trustee
                250 East Fifth Street, Suite 2350
                Cincinnati, OH 45202

        If you or your attorney do not take these steps, the Court may decide that you do not



Date: June 18, 2019
                                                    /s/ Richard D. Nelson
                                                    Richard D. Nelson, Chapter 7 Trustee
                                                    250 East Fifth Street, Suite 2350
                                                    Cincinnati, OH 45202
                                                    Phone (513) 421‐4020
                                                    Fax (513) 241‐4495
                                                    Email: ricknelson@ctks.com




                                         CERTIFICATE OF SERVICE

        I hereby certify that a true and accurate copy of the foregoing NOTICE OF APPLICATION TO
RETAIN BK GLOBAL REAL ESTATE SERVICES TO PROCURE CONSENTED PUBLIC SALE NUNC PRO TUNC AS
OF JANUARY 23, 2019 PURSUANT TO 11 U.S.C. § 327was served (i) electronically on the date of filing
through the court’s ECF System on all ECF participants registered in this case at the email address
registered with the court and (ii) by ordinary U.S. Mail on this 18th day of June, 2019, upon:

Via Regular U.S. Mail:

Rick Ellis                                             Synchrony Bank
Melba Ellis                                            c/o PRA Receivables Management, LLC
2752 Eastridge Drive                                   PO Box 41021
Hamilton, OH 45011                                     Norfolk, VA 23541
Debtors

                                                    /s/Richard D. Nelson
                                                    Richard D. Nelson
